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 1 A. NICOLE HALLETT (pro hac vice             ERIKA PINHEIRO (CA Bar No.
   pending)                                    275711)
 2 nhallett@uchicago.edu                       erika@alotrolado.org
   EDWIN F. MANDEL LEGAL AID                   AL OTRO LADO
 3 CLINIC                                      PO Box 32578
   6020 S. University Ave.                     Los Angeles, CA 90032
 4 Chicago, IL 60637                           Tel: (619) 786-4866
   Tel: (203) 910-1980                         Fax: (323) 430-8793
 5 Fax: (773) 702-2063

 6                     UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA
 7                          WESTERN DIVISION

 8 AL OTRO LADO and EDWIN F.               )   ____________
   MANDEL LEGAL AID CLINIC                 )
 9          Plaintiffs,                    )
       vs.                                 )
10                                         )
   UNITED STATES DEPARTMENT                )
11 OF HOMELAND SECURITY,                   )
   UNITED STATES CUSTOMS AND               )   Case No.:
12 BORDER PROTECTION, and                  )
   UNITED STATES IMMIGRATION               )   COMPLAINT FOR
13 AND CUSTOMS ENFORCEMENT,                )   DECLARATORY AND
            Defendants.                    )   INJUNCTIVE RELIEF
14                                         )
                                           )
15                                         )
                                           )
16                                         )
                                           )
17

18                                INTRODUCTION

19          1.   This is an action under the Freedom of Information Act (“FOIA”), 5

20 U.S.C. § 552, to compel the U.S. Department of Homeland Security (“DHS”), U.S.

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1     Customs and Border Protection (“CBP”), and U.S. Immigration and Customs

2     Enforcement (“ICE”) to conduct a proper search for and disclose records possessed

3     by these government agencies regarding the COVID-19 outbreak at the following

4     facilities (hereinafter the “facilities”): Adelanto Detention Center (“Adelanto”),

5     Otay Mesa Detention Center (“Otay Mesa”), and all land ports of entry and Border

6     Patrol stations in California.

7           2.     The documents have been requested by Al Otro Lado (“AOL”) and

8     the Edwin F. Mandel Legal Aid Clinic at the University of Chicago Law School

9     (“Mandel Clinic”) (together, “Requesters”). AOL is a bi-national non-profit legal

10    services organization established to serve indigent refugees, migrants, and

11    deportees in the U.S. and Mexico. AOL regularly provides information and

12    analysis to the media and the general public, as well as international organizations

13    and human rights monitoring bodies. The Edwin F. Mandel Legal Aid Clinic is a

14    non-profit legal aid clinic at the University of Chicago Law School.

15          3.     It has been 23 business days since DHS, CBP, and ICE granted

16    Requester’s request for expedited processing. DHS, CBP, and ICE have failed to

17    make a determination about production within the twenty-business day statutory

18    deadline.

19          4.     The records sought by Requesters’ FOIA request are critically

20    important to assist detained persons, families and friends of detained persons,

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1     attorneys, and the general public in understanding how the U.S. government treats

2     people in its custody who are at serious risk due to the COVID-19 pandemic.

3           5.     The facilities targeted by this request have been hit particularly hard

4     by the COVID-19 pandemic, with Otay Mesa being the site of the largest COVID-

5     19 outbreak of any ICE detention facility nationwide.1 Many immigrant detainees

6     have preexisting conditions or comorbidities that place them at higher risk for

7     severe illness or death arising from COVID-19.2 In late April 2020, twelve

8     immigrant detainees at Otay Mesa went on a hunger strike in order to protest the

9     lack of sanitary precautions being taken at the facility.3 Nationwide, more than half

10

11    1
        Kate Morrissey, SAN DIEGO UNION-TRIBUNE, After judge’s order, ICE has
      released just 2 Otay Mesa detainees identified as ‘medically vulnerable’ so far
12    (May 4, 2020),
      https://www.sandiegouniontribune.com/news/immigration/story/2020-05-
13    04/after-judges-order-ice-has-so-far-released-2-otay-mesa-detainees-identified-
      as-medically-vulnerable; Alison St John and Marissa Cabrera, KPBS, ICE Slow
14    to Release Otay Mesa Detainees at High Risk from COVID-19 (May 5, 2020),
      https://www.kpbs.org/news/2020/may/05/ice-slow-release-otay-mesa-detainees-
15    high-risk-cov/.
      2
        See Shannon Dooling, WBUR, ‘They Fear That They’re Going To Die Here’;
16    ICE Detainees in Bristol County Speak Out on COVID-19 Concerns (Mar. 24,
      2020), https://www.wbur.org/news/2020/03/24/bristol-county-detainees-
17    immigration-ice-covid-19-coronavirus; Centers for Disease Control and
      Prevention, People Who Are at Higher Risk for Severe Illness (Apr. 15, 2020),
18    available at https://www.cdc.gov/coronavirus/2019-ncov/need-extra-
      precautions/people-at-higher-risk.html.
19    3
        Max Rivkin-Nadler, KPBS, Immigrant Advocates Try to Deliver Masks to Otay
      Mesa Detention Center (Apr. 24, 2020),
20    https://www.kpbs.org/news/2020/apr/24/immigrant-advocates-try-deliver-masks-
      site-biggest/.
26
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1     of the 3,146 detainees that have been tested for COVID-19 as of June 4, 2020 have

2     tested positive for the virus,4 and at least five people—two detainees and three

3     detention facility guards— have died due to exposure at ICE detention centers.5

4           6.    This request for public records comes at a time when the public and

5     media have shown a “widespread and exceptional . . . interest in” the issue of

6     COVID-19 infections in immigration detention facilities and the associated risks

7     of contagion, sickness, and death that immigrant detainees presently face in ICE

8     and CBP custody.6 DHS, CBP, and ICE have failed to substantively and adequately

9     respond to Requester’s urgent request for information.

10
      4
        U.S. Immigration and Customs Enforcement, ICE Guidance on COVID-19
11    (Jun. 4, 2020), https://www.ice.gov/coronavirus.
      5
        Seth Freed Wessler, Fear, Illness and Death in ICE Detention: How a Protest
12    Grew on the Inside (Jun. 4, 2020),
      https://www.nytimes.com/2020/06/04/magazine/covid-ice.html; Lisa Riordan
13    Seville & Hannah Rappleye, NBC NEWS, ICE Keeps Transferring Detainees
      around the Country, Leading to COVID-19 Outbreaks (May 31, 2020),
14    https://www.nbcnews.com/politics/immigration/ice-keeps-transferring-detainees-
      around-country-leading-covid-19-outbreaks-n1212856.
15    6
        See Press Release, Senator Kamala Harris, Harris Statement on Inhumane
      Conditions at Otay Mesa Detention Center (Apr. 12, 2020), available at
16    https://www.harris.senate.gov/news/press-releases/harris-statement-on-
      inhumane-conditions-at-otay-mesa-detention-center; Press Release, Senator
17    Dianne Feinstein, Feinstein to ICE: Protect Detained Immigrants from
      Coronavirus, Allow Supervised Release (Apr. 27, 2020), available at
18    https://www.feinstein.senate.gov/public/index.cfm/press-
      releases?id=D4B25E9D-55D4-4B69-A146-8398827EE027 (summarizing
19    Senator Feinstein’s April 27, 2020 letter to Acting ICE Director Matthew T.
      Albence); Kate Morrissey, SAN DIEGO UNION-TRIBUNE, As coronavirus spreads
20    in federal detention center, calls for widescale release grow (Apr. 12, 2020),
      https://www.sandiegouniontribune.com/news/immigration/story/2020-04-
26
                                              -4-
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1                              JURISDICTION AND VENUE

2           7.     This Court has subject matter jurisdiction over this action and

3     personal jurisdiction over the parties pursuant to 5 U.S.C. §§ 552(a)(4)(B) and

4     (a)(6)(C)(i). Because this action arises under the federal laws of the United States,

5     this Court also has jurisdiction pursuant to 28 U.S.C. § 1331.

6           8.     Venue properly rests with this Court pursuant to 5 U.S.C. §

7     552(a)(4)(B) and 28 U.S.C. § 1391(e)(1)(C) because Plaintiff AOL resides or has

8     its principal place of business within this District.

9           9.     Plaintiff has exhausted any and all administrative remedies in

10    connection with its FOIA requests, as detailed below.

11

12
      12/coronavirus-spread-in-otay-mesa-detention-center; Andrea Castillo, LOS
13    ANGELES TIMES, Judge Orders ICE to reduce number of immigrant detainees at
      California facility (April 24, 2020),
14    https://www.latimes.com/california/story/2020-04-24/judge-orders-ice-reduce-
      immigrant-detainees-adelanto-facility; Tanvi Misra, ROLL CALL, ICE’s COVID-
15    19 test figures hint at health crisis in detention (April 17, 2020),
      https://www.rollcall.com/2020/04/17/ices-covid-19-test-figures-hint-at-health-
16    crisis-in-detention/; Jessica Schladebeck, NEW YORK DAILY NEWS, San Diego
      immigration detention center turns down masks donated to protect detainees
17    from coronavirus (Apr. 25, 2020), https://www.nydailynews.com/coronavirus/ny-
      coronavirus-san-diego-immigration-detention-center-masks-donated-20200425-
18    4ofwikhmijeovo357f63x2k4oe-story.html; See also Joshua Matz, THE ATLANTIC,
      The Coronavirus Is Testing America’s Commitment to People’s Constitutional
19    Rights (April 20, 2020),
      https://www.theatlantic.com/ideas/archive/2020/04/coronavirus-jails-
20    constitutional-rights/610216/ (examining immigrant detainees’ COVID-related
      due process claims).
26
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1                                          PARTIES

2           10.    Plaintiff AOL is a bi-national non-profit legal services organization

3     established to serve refugees, migrants, and deportees in the U.S. and Mexico.

4     AOL regularly provides information and analysis to the media and the general

5     public, as well as to international human rights advocacy organizations and human

6     rights monitoring bodies. AOL actively shares and disseminates information about

7     its work and conditions on the U.S.-Mexico border through its various social media

8     accounts and website.7 Disseminating information to the public is a critical

9     component of AOL’s work. AOL does this at no cost to the public.

10          11.    Plaintiff Mandel Clinic is a non-profit legal aid clinic at the University

11    of Chicago Law School. The Mandel Clinic publishes documents that compile and

12    analyze information regarding legal developments that affect immigrant

13    populations at no cost to the public.8

14          12.    Defendant DHS is a department of the executive branch of the United

15    States government and is an agency within the meaning of 5 U.S.C. § 552(f)(1).

16    DHS is responsible for, inter alia, administering and enforcing federal immigration

17

18
      7
        See e.g.,
19    https://twitter.com/AlOtroLado_Org?ref_src=twsrc%5Egoogle%7Ctwcamp%5
      Eserp%7Ctwgr%5Eauthor; https://alotrolado.org/programs/border-rights-
20    project/..
      8
        See https://www.law.uchicago.edu/clinics/immigrants.
26
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1     laws. Upon information and belief, DHS has possession and control over records

2     requested by Requesters.

3           13.    Defendant CBP is a component of DHS and an agency within the

4     meaning of 5 U.S.C. § 552(f)(1). CBP is the largest law enforcement agency within

5     DHS and, among other duties, operates and oversees ports of entry and Border

6     Patrol stations. Upon information and belief, CBP has possession and control over

7     records requested by Requesters.

8           14.    Defendant ICE is a component of DHS and an agency within the

9     meaning of 5 U.S.C. § 552(f)(1). ICE is the largest investigative arm of DHS and,

10    among other duties, operates and oversees detention facilities. Upon information

11    and belief, ICE has possession and control over records requested by Requesters.

12                                    BACKGROUND

13          15.    Since the first case of the COVID-19 virus was confirmed in the

14    United States, in January 2020, the disease has spread rapidly throughout the

15    country, infecting over 1.8 million people and killing over 114,000.9 To reduce the

16    spread of the virus, federal, state, and local government actors have implemented

17    unprecedented social distancing measures to separate people from one another and

18

19
      9
       Centers for Disease Control and Prevention, Coronavirus Disease 2019
20    (COVID-19): Cases in the US (Jun. 5, 2020),
      https://www.cdc.gov/coronavirus/2019-ncov/cases-updates/cases-in-us.html.
26
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1     prevent person-to-person spread.10 Despite such measures, the tremendous flood

2     of COVID-19 cases has often overwhelmed available medical resources.11

3           16.   People in detention centers are particularly vulnerable to the COVID-

4     19 virus. Over the past months, experts have warned that immigrant detention

5     centers are “primed for uncontrolled coronavirus transmission” and amount to “a

6     public health disaster in the making.”12 In a report issued May 6, 2020, the CDC

7     warned that detention facilities “face challenges in controlling the spread of

8     infectious diseases because of crowded, shared environments and potential

9     introductions by staff members and new intakes.”13

10          17.   In addition to the risks that arise from crowding, detention centers also

11    pose a serious risk because of poor health care practices. Numerous reports have

12    found that detention centers often have unsanitary conditions and limited medical

13

14    10
         Sarah Mervosh, Denise Lu, and Vanessa Swales, N.Y. TIMES, See Which States
      and Cities Have Told Residents to Stay at Home (Apr. 20, 2020),
15    https://www.nytimes.com/interactive/2020/us/coronavirus-stay-at-home-
      order.html.
16    11
         See, e.g., Melanie Evans, WALL STREET JOURNAL, US Strategic Stockpile of
      Medical Supplies Is Outmatched by Coronavirus (Mar. 23, 2020),
17    https://www.wsj.com/articles/u-s-strategic-stockpile-of-medical-supplies-is-
      outmatched-by-coronavirus-11584990542.
18    12
         Jackie Powder, JOHNS HOPKINS BLOOMBERG SCHOOL OF PUBLIC HEALTH:
      COVID-19 – SCHOOL OF PUBLIC HEALTH EXPERT INSIGHTS, Detained and
19    Vulnerable to COVID-19 (Apr. 3, 2020), https://www.jhsph.edu/covid-
      19/articles/detained-and-vulnerable-to-covid-19.html.
20    13
         Megan Wallace et al., CENTERS FOR DISEASE CONTROL AND PREVENTION (May
      6, 2020), https://www.cdc.gov/mmwr/volumes/69/wr/mm6919e1.htm.
26
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1     resources, while detainees lack basic personal hygiene products such as hand soap

2     or clean towels.14 Detainees at various detention centers have reported recent

3     outbreaks of other diseases, week-long waits for doctors to see broken bones, mold,

4     leaks, clogged toilets in close proximity to beds, poor ventilation, gray drinking

5     water, and total absence of soap or cleaning supplies.15 The notoriously poor health

6     and hygiene practices at detention centers make them particularly likely sites for

7     COVID-19 outbreaks, and render them gravely unprepared to address such

8     outbreaks.

9           18.    Thousands of immigrant detainees are currently held in DHS

10    detention facilities across Southern California, where they are in danger of

11    contracting COVID-19. Many immigrant detainees have preexisting conditions or

12    comorbidities that place them at higher risk for severe illness or death as a result

13

14    14
         See, e.g., Joshua Matz, THE ATLANTIC, The Coronavirus Is Testing America’s
      Commitment to People’s Constitutional Rights (Apr. 20, 2020),
15    https://www.theatlantic.com/ideas/archive/2020/04/coronavirus-jails-
      constitutional-rights/610216/, (describing limited medical care and unsanitary
16    living spaces at immigration detention facilities); Dahlia Lithwick, SLATE
      MAGAZINE, A New COVID-19 Lawsuit Seeks to Challenge the Horrifying
17    Conditions in Los Angeles Jails (Apr. 24, 2020), https://slate.com/news-and-
      politics/2020/04/covid-19-lawsuit-los-angeles-jails.html (describing risks arising
18    from crowded conditions, shared facilities, and extremely limited hygiene
      products)>.
19    15
         Eunice Cho, ACLU, Immigration Detention Was a Black Box Before COVID-
      19. Now, It’s a Death Trap. (Apr. 30, 2020),
20    https://www.aclu.org/news/immigrants-rights/immigration-detention-was-a-
      black-box-before-covid-19-now-its-a-death-trap/.
26
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1    of COVID-19.16 Those risks are not limited to ICE detention facilities. As of June

2    4, 2020, 436 CBP employees nationwide – including 96 in California – had been

3    diagnosed with COVID-19.17

4          19.    COVID-19 has already spread to at least 55 of ICE’s detention

5    facilities throughout the country, which total around 200.18 At least 1,623

6    immigrants in ICE custody had tested positive for COVID-19 as of June 4, 2020,

7    even though only 3,146 detainees had been tested out of more than 25,000.19 In

8    other words, over half of tested individuals have contracted COVID-19, indicating

9    that hundreds, if not thousands, of untested individuals have probably contracted

10   the virus as well. In a nationwide CDC report aggregating data from prison and

11   detention facilities, about half of cases identified through facility-wide testing were

12   among asymptomatic and presymptomatic persons,20 further indicating that the

13   number of COVID-19 cases in ICE facilities is probably far greater than those

14   discovered through the extremely limited testing to date.

15

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17   16
        See Dooling, supra note 2; Centers for Disease Control and Prevention, supra
     note 2.
18   17
        U.S. Customs and Border Protection, CBP COVID-19 Updates and
     Announcements (Jun. 4, 2020), https://www.cbp.gov/newsroom/coronavirus#.
19   18
        Seville & Rappleye, supra note 5.
     19
        Id; U.S. Customs and Border ProtectionImmigration and Customs
20   Enforcement, supra note 417.
     20
        Wallace et al., supra note 13.
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1          20.    The Otay Mesa Detention Center, one of the targets of the FOIA

2    request, is the site of the largest COVID-19 outbreak of any ICE detention facility

3    in the nation.21 At least 160 ICE detainees and 11 ICE employees had tested

4    positive as of June 4, 2020, and one immigrant has died of the virus.22 By May 8,

5    2020, the facility was responsible for almost half of all cases in the 92154 zip code,

6    making it the largest COVID-19 hot spot in San Diego.23

7          21.    Despite the fact that the pandemic spread through the United States

8    months ago, detention facilities have failed to adequately respond. In addition to

9    the severely limited testing described above, which make it impossible to identify

10   and isolate COVID-19 cases, facilities have failed to implement other measures to

11   prevent the spread of the virus. Continued overcrowding in many facilities makes

12

13   21
        Judy Stone, FORBES, ICE Is Fueling Coronavirus Outbreaks, Ignoring CDC
     Guidelines (Jun. 4, 2020),
14   https://www.forbes.com/sites/judystone/2020/06/04/ice-is-fueling-coronavirus-
     outbreaks-ignoring-cdc-guidelines/#5cd5771b5ad4.
15   22
        U.S. Customs and Immigration EnforcementImmigration and Customs
     Enforcement, supra note 417; Kelly Hessedal, Protesters Demand Otay Mesa
16   Detention Center Release Detainees amid COVID-19 Outbreak (May 24, 2020),
     https://www.cbs8.com/article/news/health/coronavirus/protesters-demand-otay-
17   mesa-detention-center-release-detainees-amid-covid-19-outbreak/509-ac88d922-
     942d-4659-a378-ada455cf7118.
18   23
        Kate Morrisey, SAN DIEGO UNION-TRIBUNE, 65 More Medically Vulnerable
     ICE Detainees Released from Otay Mesa Detention Center after Judge’s Order
19   (May 8, 2020),
     https://www.sandiegouniontribune.com/news/immigration/story/2020-05-08/65-
20   more-medically-vulnerable-ice-detainees-released-from-otay-mesa-detention-
     center-after-judges-order.
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1    effective social distancing impossible, and ICE has reportedly responded to

2    COVID-19 cases by quarantining potentially infected people in groups, risking

3    transmission between actually infected detainees and those who were not

4    infected.24 Other reports describe inadequate treatment of sick detainees, including

5    long waits to receive care or serious illness treated only with ibuprofen.25 Further,

6    continued transfers of immigrants between detention centers have reportedly led

7    to outbreaks in facilities throughout the country, including Texas, Ohio, Florida,

8    Mississippi, and Louisiana.26 Detainees transferred between facilities have

9    described being crowded into buses with sick detainees.27 Nobody wore masks,

10   and because detainees were handcuffed, they could not even cover their mouths.28

11         22.    Even though the outbreak in the Otay Mesa Detention Center began

12   in early April, ICE did not begin releasing vulnerable detainees until early May,

13   and only did so in response to a court order from a federal judge.29 Despite the

14
     24
        Fernanda Echavarri and Noah Lanard, MOTHER JONES, A Doctor on ICE’s
15   Response to the COVID-19 Pandemic: “You Could Call It COVID-19 Torture
     (Apr. 13, 2020), https://www.motherjones.com/politics/2020/04/a-doctor-on-ices-
16   response-to-the-pandemic-you-could-call-it-covid-19-torture/.
     25
        Bryn Stole and Matt Sledge, NOLA, Coronavirus Cases Explode in
17   Louisiana’s Immigration Lock-ups; What Is ICE Doing about It? (May 2, 2020),
     https://www.nola.com/news/coronavirus/article_ae470c36-8c9f-11ea-8450-
18   af1b6c53da5c.html.
     26
        Seville & Rappleye, supra note 5.
19   27
        Seville & Rappleye, supra note 5.
     28
        Id.
20   29
        Order Granting Plaintiff-Petitioners’ Emergency Ex Parte Motion for Subclass-
     Wide Temporary Restraining Order, Alcantara v Archambeault, No. 3:20-cv-
26
                                              -12-
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1    rapid spread of the infection and the risk of death to vulnerable detainees, ICE only

2    released two detainees within three days of the court order,30 and released 65 over

3    the next week, though it had identified 131 medically vulnerable individuals.31

4          23.    At the same time, alarming reports suggest that detention center staff

5    have retaliated against detainees for seeking protection from COVID-19.

6    Throughout the country, detainees and advocates have reported detention center

7    guards using tear gas, pepper spray, solitary confinement, and physical violence to

8    respond to detainees speaking out about poor conditions or seeking better

9    protection from the spread of COVID-19.32

10
     00756-DMS-AHG (S.D. Cal. Apr. 30, 2020), available at
11   https://www.aclusandiego.org/wp-content/uploads/2020/04/2020-04-30-38-ORD-
     Granting-TRO.pdf; Morrissey, supra note 1. A federal court issued a similar
12   injunction for the Adelanto Detention Center, which is currently stayed pending
     appeal. See Roman v. Wolf, No. 5:20-cv-00768-TJH-PVC (C.D. Cal., Apr. 23,
13   2020), available at
     https://www.aclusocal.org/sites/default/files/aclu_socal_roman_20200423_order_
14   grantingpi.pdf.
     30
        Id.
15   31
        Morrisey, supra note 23.
     32
        Noah Lanard, MOTHER JONES, ICE Detainees Terrified of the Coronavirus
16   Wanted to Be Deported. Guards Pepper-Sprayed Them (Apr. 23, 2020),
     https://www.motherjones.com/politics/2020/04/ice-detainees-terrified-of-the-
17   coronavirus-wanted-to-be-deported-guards-pepper-sprayed-them/; Debbie
     Nathan, THE INTERCEPT, Women in ICE Detention Face Reprisals for Speaking
18   Up about Fears of COVID-19 (Apr. 28, 2020),
     https://theintercept.com/2020/04/28/ice-detention-coronavirus-videos/; Cho,
19   supra note 15 (solitary confinement used to punish Louisiana detainee who spoke
     with journalist about facility conditions); José Olivares, THE INTERCEPT, ICE’s
20   Immigration Detainees Protested Lack of Coronavirus Precautions — and
     SWAT-like Private-Prison Guards Pepper-Sprayed Them (May 5, 2020),
26
                                              -13-
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1          24.    At the Adelanto Detention Center, one of the detention centers

2    targeted by this request, staff have recently been spraying dangerous amounts of a

3    toxic disinfectant called HDQ throughout the facility.33 Detainees report that the

4    facility is using HDQ to retaliate against past detainee complaints regarding the

5    facility’s inadequate response to COVID-19.34 Staff spray the toxic chemical over

6    50 times each day in poorly-ventilated areas.35 Detainees have reported blistered

7    skin, nosebleeds lasting over five hours, coughing or sneezing blood, fainting, and

8    nausea.36 It is coming into contact with individuals’ eyes, noses, mouths, skin,

9    clothing, bedding, food, and drinking water,37 even though it should not be used

10

11   https://theintercept.com/2020/05/05/ice-stewart-immigration-detention-
     coronavirus-protest-pepper-spray/; Shannon Dooling, WBUR, ICE Detainees
12   Allege Assault, Isolation Used As Retaliation at Bristol County; Sheriff Denies
     Claims (May 6, 2020), https://www.wbur.org/news/2020/05/06/bristol-sheriff-
13   hodgson-altercation-recording (Massachusetts detainees allege assault and use of
     tear gas, paper spray, K9 unit, and solitary confinement against detainees seeking
14   better detention center response to COVID-19).
     33
        Canela López, INSIDER, Report Finds ICE Detention Center is Using a
15   Disinfectant over 50 Times a Day that Causes Bleeding and Pain (Jun. 5, 2020),
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16   bleeding-and-pain-2020-6.
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17   35
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18   Center (May 28, 2020), https://www.vvdailypress.com/news/20200528/rally-
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19   37
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20   2020), https://www.newsweek.com/over-250000-sign-petition-stop-ice-using-
     powerful-disinfectant-detainees-allegedly-suffer-1508326.
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1    without protective gear, should never be inhaled, and can cause severe skin burns

2    and irreversible eye damages.38

3          25.   Despite the grave risks posed by immigrant detention centers during

4    the COVID-19 pandemic, the large number of cases already reported, the

5    inadequate response by government officials, and the troubling reports of

6    retaliation, the public has limited access to information about detention centers’

7    response to the pandemic.39 The records requested – including records regarding

8    the administration of medical care; available medical resources and hygiene

9    products; precautions taken in response to the pandemic; and numbers of detainees

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11   38
        Spartan Chemical Company, Inc., Safety Data Sheet (Sep. 10, 2019),
     https://www.spartanchemical.com/sds/downloads/AGHS/EN/1202.pdf.
12   39
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     Detention Will Cost Lives (May 22, 2020),
13   https://www.aclu.org/news/immigrants-rights/ices-lack-of-transparency-about-
     covid-19-in-detention-will-cost-lives/; Alan Gomez, Maria Clark & Rebecca
14   Plevin, USA TODAY, “Terrified of Dying”: Immigrants Beg to Be Released from
     Immigration Detention as Coronavirus Spreads (Apr. 7, 2020),
15   https://www.usatoday.com/story/news/nation/2020/04/07/covid-19-hits-ice-
     detention-migrants-say-they-cant-clean-stay-safe/2953170001/ (describing
16   limited information regarding ICE’s COVID-19 policies); Molly Parker & Brian
     Munoz, Officials Tight-Lipped on Pulaski County Detention Center Outbreak as
17   Detainees Fear for Their Lives, THE SOUTHERN ILLINOISAN (Apr. 25, 2020),
     https://thesouthern.com/news/local/officials-tight-lipped-on-pulaski-county-
18   detention-center-outbreak-as-detainees-fear-for-their-lives/article_b1805d49-
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19   COVID-19 Pandemic, Authorities Must Release Immigration Detainees, (Apr. 7,
     2020), available at https://www.amnesty.org/en/latest/news/2020/04/usa-covid19-
20   pandemic-authorities-must-release-immigration-detainees/ (noting lack of
     information about COVID-19 risks at ICE detention centers).
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1    being tested, transferred to hospitals, released, or isolated – would allow the public

2    to understand the extent and the nature of the crisis clearly occurring within

3    Southern California detention centers and take informed steps to address and

4    mitigate that crisis. This is essential to protecting the health of detainees, detention

5    center staff, and the surrounding community, which suffers greatly when an

6    infectious disease is permitted to spread within it.

7           26.    This information is all the more vital given the rapid spread of the

8    COVID-19 virus. Detainees and detention center staff are already losing their lives

9    as a result of COVID-19, and drastic steps must be taken quickly to minimize

10   further suffering and loss of life.

11                               STATEMENT OF FACTS

12          A.     Requester’s FOIA Request

13          27.    On May 5, 2020, Requesters submitted identical FOIA requests to

14   Defendants DHS, CBP, and ICE seeking records related to information in the

15   possession of these government agencies regarding the COVID-19 outbreak at the

16   facilities.

17          28.    The request sought disclosure of records “that were prepared,

18   received, transmitted, collected, and/or utilized by ICE, CBP and/or DHS or

19   prepared, received, transmitted, collected, and/or utilized by private contractors

20   (including but not limited to CoreCivic, GEO, and Paragon) and that are now in

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1    the possession of ICE, CBP, and/or DHS at the following facilities (hereinafter the

2    “facilities”): Adelanto Detention Center (“Adelanto”), Otay Mesa Detention

3    Center (“Otay Mesa”), and all land ports of entry and Border Patrol stations in

4    California.” The records requested included, but were not limited to:

5                 i.     Medical files, with names and other personal identifying

6                        information redacted, of detainees who have reported

7                        respiratory or flu-like symptoms, or who have been tested for

8                        or diagnosed with COVID-19 from February 1, 2020 to

9                        present.

10                ii.    Records related to precautions taken at the facilities because of

11                       the COVID-19 pandemic.

12                iii.   Records containing the number of detainees who have been

13                       taken to the hospital, tested positive for COVID-19, been

14                       placed in solitary confinement, or granted parole from February

15                       1, 2020 to present.

16                iv.    Records regarding the management of hunger strikes within the

17                       facilities.

18                v.     Policies and communications related to private contractors and

19                       COVID-19.

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1                 vi.   Records relating to detainee housing transfers in Otay Mesa

2                       from April 10, 2020 to present.

3          29.    In addition to the FOIA request, Requesters also requested a fee

4    waiver and that each Defendant expedite processing of the request.

5          30.    A copy of the Request is attached as Exhibit 1.

6          B.     Defendants’ Responses to Requests

7          31.    In a letter dated and received May 8, 2020, Defendant DHS

8    acknowledged that it received the FOIA request on May 6, 2020. DHS informed

9    Requesters that DHS’s Privacy Office would coordinate a search with Defendants

10   CBP and ICE and respond to the FOIA request on behalf of DHS and its

11   components. It stated that it would respond to the request as expeditiously as

12   possible by locating all responsive records and reviewing them for releasability.

13         32.    In the same letter, DHS also granted expedited treatment of the FOIA

14   request and conditionally granted the request for a fee waiver.

15         33.    A copy of the receipt and grant of expedited processing is attached as

16   Exhibit 2.

17         34.    Defendants were then obligated, within 20 business days of receiving

18   the request, to make a “determination” of whether they would comply with the

19   request, and to notify requestors immediately. 5 U.S.C. § 552(a)(6)(A)(i). A

20   “determination” requires “more than merely acknowledging receipt of the request

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1    and stating that the agency will produce any non-exempt records that it may later

2    locate.” Electronic Privacy Information Center v. Department of Justice, 15

3    F.Supp.3d 32, 40 (D.D.C. 2014). Rather, as the D.C. Circuit has stated, “in order

4    to make a ‘determination’ and thereby trigger the administrative exhaustion

5    requirement, the agency must at least: (i) gather and review the documents;

6    (ii) determine and communicate the scope of the documents it intends to produce

7    and withhold, and the reasons for withholding any documents; and (iii) inform the

8    requester that it can appeal whatever portion of the ‘determination’ is adverse.”

9    Citizens for Responsibility and Ethics in Washington v. Federal Election

10   Commission, 711 F.3d 180, 188 (D.C. Cir. 2013) (“CREW”).

11         35.    The May 8 letter from DHS merely acknowledged receipt of the FOIA

12   request and stated that DHS would produce responsive records after determining

13   their releasability. It did not satisfy any of the CREW requirements.

14         36.    Although the 20-day window to make a determination expired June

15   4, 2020, DHS has not made a determination as defined in CREW.

16         37.    When an agency fails to make such a determination within the

17   statutory deadline, requestors are entitled to “immediate judicial supervision” of

18   the request. Daily Caller v. U.S. Dep’t of State, 152 F.Supp.3d 1, 10 (D.D.C. 2015).

19   Accordingly, requestors are entitled to judicial review regardless of any

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1    administrative exhaustion requirements that might otherwise bar action in federal

2    court. CREW, 711 F.3d 711 F.3d at 189.

3          38.       In cases where, as here, expedited processing has been granted, “the

4    district court’s supervision will aim to ensure that the agency is processing a

5    request with ‘due diligence’ and as quickly ‘as practicable.’” Protect Democracy

6    Project, Inc. v. U.S. Dep’t of Def., 263 F.Supp.3d 293, 302 (D.D.C 2017) (quoting

7    5 U.S.C. § 552(a)(6)(E)(iii)).

8                                         COUNT ONE

9         (Violation of the Freedom of Information Act for Failure to Make a

10               Determination Regarding Request by Statutory Deadline)

11         39.       Plaintiffs repeat each allegation in Paragraphs 1 – 39, as if fully set

12   forth herein.

13         40.       On May 6, 2020, Plaintiffs made a request under FOIA to Defendants

14   DHS, CBP, and ICE for responsive records related to the spread of the COVID-19

15   virus in immigrant detention centers.

16         41.       Defendants were obligated under 5 U.S.C. § 552(a)(6)(A)(i) to make

17   a determination regarding the request within 20 business days. At a minimum, that

18   determination was required to gather and review responsive documents, determine

19   and communicate the scope of the documents it intends to produce and withhold,

20   and provide reasons for withholding any documents.

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1             42.   Defendants failed to make this determination within the statutory

2    deadline, violating 5 U.S.C. § 552(a)(6)(A)(i).

3             43.   As a result of Defendants’ failure to make the required determination,

4    Plaintiffs are deemed to have exhausted administrative remedies with respect to

5    Defendants. Accordingly, Plaintiffs are entitled to judicial supervision of

6    Defendants’ compliance with the FOIA request, as well as a presumption that they

7    have failed to process the request as soon as practicable. Even if Defendants can

8    show “exceptional circumstances” justifying the delay, the court may retain

9    jurisdiction while Defendants continue to process the request. 5 U.S.C.

10   § 552(a)(6)(C)(i).

11                                 PRAYER FOR RELIEF

12   WHEREFORE, Plaintiffs respectfully request that this Court enter judgment in its

13   favor:

14                  i.     Declaring that Defendants’ failure to make the required

15                         determination before the statutory deadline violates FOIA;

16                  ii.    Ordering Defendants to conduct a search for responsive records

17                         with due diligence and as quickly as is practicable, and to

18                         produce such records to plaintiffs;

19                  iii.   Awarding Plaintiffs reasonable attorneys’ fees and costs

20                         pursuant to 5 U.S.C. § 552(a)(4)(E) and 28 U.S.C. § 2412; and

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1              iv.   Granting all other such relief to Plaintiffs as the Court deems

2                    just and proper.

3    DATED: June 11, 2020

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5                                 /s/ Erika Pinheiro
                                  Erika Pinheiro
6                                 AL OTRO LADO
                                  PO Box 32578
7                                 Los Angeles, CA 90032
                                  Tel: (619) 786-4866
8                                 Fax: (323) 430-8793

9                                 A. Nicole Hallett*
                                  EDWIN F. MANDEL LEGAL AID
10                                CLINIC
                                  The University of Chicago Law School
11                                6020 S. University Ave.
                                  Chicago, IL 60637
12                                Tel: (203) 910-1980
                                  Fax: (773) 702-2063
13                                * pro hac vice pending

14                                Attorneys for Plaintiffs
                                  AL OTRO LADO and
15                                EDWIN F. MANDEL              LEGAL      AID
                                  CLINIC
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